 Case 5:16-cv-00083-EKD Document 54 Filed 03/12/19 Page 1 of 2 Pageid#: 222




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                 HARRISONBURG DIVISION

ME2 PRODUCTIONS, INC.,                            )
                                                  )
           Plaintiff,                             )
                                                  )      Civil Action No. 5:16-cv-00083
 v.                                               )
                                                  )      By: Elizabeth K. Dillon
FRED CRAWLEY, et al.,                             )          United States District Judge
                                                  )
           Defendants.                            )

                          ORDER DISMISSING WITH PREJUDICE
                               DEFENDANT KIM DAVIS

       On March 11, 2019, ME2 Productions, Inc. (ME2), through counsel, filed a notice of

voluntary dismissal, purporting to dismiss all of the remaining defendants in this case without

prejudice, pursuant Federal Rule of Civil Procedure 41(a)(1). (Dkt. No. 52.) That provision

allows a plaintiff to dismiss an action without a court order either through a stipulation of

dismissal signed by all parties who have appeared or if the plaintiff’s notice is filed “before the

opposing party serves either an answer or a motion for summary judgment.” Fed. R. Civ. P.

41(a)(1)(A)(i)–(ii). As to all but one of the remaining defendants, that dismissal is appropriate,

and those defendants are dismissed without prejudice by virtue of plaintiff’s filing. One

defendant, Kim Davis, however, has filed an answer. (Dkt. No. 30.) Thus, that subsection of

Rule 41 is inapplicable as to her. Instead, a court order is required. Fed. R. Civ. P. 41(a)(2).

       In April 2018, the parties had informed the court that plaintiff and Davis had reached a

settlement but that the terms were being finalized. (Dkt. No. 48.) That Notice of Settlement

advised that “[u]pon satisfaction of the terms of the parties’ settlement agreement . . ., Plaintiff

will dismiss Davis from this action with prejudice.” (Id. (emphasis in original).) In light of that

filing and notice, and because no party has advised that the settlement was not finalized, the
 Case 5:16-cv-00083-EKD Document 54 Filed 03/12/19 Page 2 of 2 Pageid#: 223




court concludes that the dismissal of Kim Davis with prejudice is appropriate. Fed. R. Civ. P.

41(a)(2) (noting that a court may dismiss an action at the plaintiff’s request “on terms that the

court considers proper”).

       Accordingly, the court hereby dismisses Kim Davis with prejudice. The other defendants

remaining as of plaintiff’s latest filing are dismissed without prejudice. The clerk is directed to

strike this action from the active docket of this court, and to provide copies of this order to all

counsel of record and all defendants who have appeared without counsel.

       Entered: March 12, 2019.




                                                       /s/ Elizabeth K. Dillon
                                                       Elizabeth K. Dillon
                                                       United States District Judge




                                                  2
